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                         EXHIBIT A
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    lululemon athletica Inc. Releases Impact
    Agenda, Unveiling its Social and
    Environmental Goals and Strategies to
    Create a Healthier Future
      Oct 28, 2020




 Twelve commitments detail specific actions across a range of global issues including diversity
              and inclusion, mental wellbeing, climate change, and circularity.
VANCOUVER, British Columbia--(BUSINESS WIRE)-- lululemon athletica inc. (NASDAQ:LULU)
today released its first-ever Impact Agenda detailing the Company’s long-term strategy to
become a more sustainable and equitable business, minimize its environmental impact, and
accelerate positive change both internally and externally.

The Company’s Impact Agenda outlines its multi-year strategies to address critical social and
environmental issues with 12 goals to drive progress. These include targeting areas ranging from
diversity and inclusion to mental wellbeing to climate change, with specific commitments to
invest $75 million USD into equitable wellbeing programs globally by 2025, expand gender pay
equity to full pay equity for its employees, and make 100% of its products with sustainable
materials and end-of-use solutions by 2030.

“lululemon has a unique opportunity, responsibility and platform to drive meaningful change. We
share our Impact strategy against the backdrop of the COVID-19 pandemic, a global climate
crisis, and systemic inequities in our society,” said Calvin McDonald, Chief Executive Officer. “As a
global brand, industry, and as individuals, we must play a part to change the world for the better.”
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McDonald continued, “Our Impact Agenda is more than a set of commitments. It’s a holistic
approach that reflects who we are, guided by our purpose to elevate the world by realizing the
full potential within every one of us. I am grateful to everyone who has dedicated their knowledge
and experience to help us define our approach.”

Building on the Company’s progress and learnings over the past two decades, lululemon’s Impact
Agenda brings a new level of ambition that will guide the way the Company approaches and
measures its work across all aspects of its business, organized into three interconnected areas of
focus:

Be Human

•   Inclusion, Diversity, Equity, and Action: Reflect the diversity of the communities the Company
    serves and operates in around the world by 2025.

•   Employee Leadership Offerings: Be the place where people come to develop and grow as
    leaders by 2023 including actions such as providing leading mental wellbeing training to all
    employees globally by 2021.

•   Employee Pay Equity: Achieved 100% gender pay equity, and will expand to full pay equity for
    gender and race by 2022.

•   Supporting People Who Make Our Products: Provide empowerment programs covering a
    range of issues, including human rights education, resilience and wellbeing practices to more
    than 100,000 workers across its supply chain by 2025.

Be Well

•   Wellbeing for All: Provide access to tools that embrace mindfulness and movement practices
    for more than 10 million people globally by 2025.

•   Scale Here to Be and new programs: Invest $75 million USD in its global and local
    communities by 2025 to drive impact through direct funding, partnerships, and advocacy.

•   Create a Centre of Excellence: Establish a Centre of Excellence for social impact by 2021.

Be Planet

•   Sustainable Product Innovation: 100% of the Company’s products will include sustainable
    materials and end-of use solutions by 2030.

•   Sustainable Materials: Ensure at least 75% of its products contain sustainable materials by
    2025.
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•   Circularity: Offer guests new options to extend the life of its products by providing resell,
    repair, and/or recycle options by 2025.

•   Climate Change: Source 100% renewable electricity to power the Company’s operations by
    2021 and reduce carbon emissions across its global supply chain by 60% per unit of value
    added, meeting its Science-based Targets by 2030.

•   Water and Waste Reduction: Reduce its freshwater use intensity by 50% to manufacture its
    products and reduce single-use plastic packaging by 50% by 2025.

For more information and to view the 2020 Impact Agenda, visit
https://shop.lululemon.com/story/sustainability

About lululemon athletica inc.

lululemon athletica inc. (NASDAQ:LULU) is a healthy lifestyle inspired athletic apparel company
for yoga, running, training, and most other sweaty pursuits, creating transformational products
and experiences which enable people to live a life they love. Setting the bar in technical fabrics
and functional designs, lululemon works with yogis and athletes in local communities for
continuous research and product feedback. For more information, visit WWW.LULULEMON.COM.

Forward-Looking Statements:

This press release includes estimates, projections, statements relating to the Company's business
plans, objectives, and expected operating results that are "forward-looking statements" within the
meaning of the Private Securities Litigation Reform Act of 1995, Section 27A of the Securities Act
of 1933 and Section 21E of the Securities Exchange Act of 1934. In many cases, you can identify
forward-looking statements by terms such as "may," "will," "should," "expects," "plans,"
"anticipates," "outlook," "believes," "intends," "estimates," "predicts," "potential" or the negative of
these terms or other comparable terminology. These forward-looking statements also include the
Company's guidance and outlook statements. These statements are based on management's
current expectations but they involve a number of risks and uncertainties. Actual results and the
timing of events could differ materially from those anticipated in the forward-looking statements
as a result of risks and uncertainties, which include, without limitation: its ability to maintain the
value and reputation of its brand; the current COVID-19 coronavirus pandemic and related
government, private sector, and individual consumer responsive actions; the acceptability of its
products to its guests; its highly competitive market and increasing competition; its reliance on
and limited control over third-party suppliers to provide fabrics for and to produce its products;
suppliers or manufacturers not complying with its Vendor Code of Ethics or applicable laws; the
operations of many of its suppliers are subject to international and other risks; an economic
recession, depression, or downturn or economic uncertainty in its key markets; increasing
product costs and decreasing selling prices; its ability to anticipate consumer preferences and
successfully develop and introduce new, innovative and updated products; its ability to
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accurately forecast guest demand for its products; its ability to safeguard against security
breaches with respect to its information technology systems; any material disruption of its
information systems; its ability to have technology-based systems function effectively and grow
its e-commerce business globally; changes in consumer shopping preferences and shifts in
distribution channels; the fluctuating costs of raw materials; its ability to expand internationally in
light of its limited operating experience and limited brand recognition in new international
markets; global economic and political conditions and global events such as health pandemics; its
ability to deliver its products to the market and to meet guest expectations if it has problems
with its distribution system; imitation by its competitors; its ability to protect its intellectual
property rights; its ability to source and sell its merchandise profitably or at all if new trade
restrictions are imposed or existing trade restrictions become more burdensome; its ability to
realize the potential benefits and synergies sought with the acquisition of MIRROR, its operating
flexibility given the significant costs incurred in connection with the acquisition of MIRROR, its
ability to grow the MIRROR business and have it achieve profitability; changes in tax laws or
unanticipated tax liabilities; its ability to manage its growth and the increased complexity of its
business effectively; its ability to cancel store leases if an existing or new store is not profitable;
increasing labor costs and other factors associated with the production of its products in South
and South East Asia; its ability to successfully open new store locations in a timely manner; its
ability to comply with trade and other regulations; the service of its senior management;
seasonality; fluctuations in foreign currency exchange rates; conflicting trademarks and the
prevention of sale of certain products; its exposure to various types of litigation; actions of
activist stockholders; anti-takeover provisions in its certificate of incorporation and bylaws; and
other risks and uncertainties set out in filings made from time to time with the United States
Securities and Exchange Commission and available at www.sec.gov, including, without limitation,
its most recent reports on Form 10-K and Form 10-Q. You are urged to consider these factors
carefully in evaluating the forward-looking statements contained herein and are cautioned not to
place undue reliance on such forward-looking statements, which are qualified in their entirety by
these cautionary statements. The forward-looking statements made herein speak only as of the
date of this press release and the Company undertakes no obligation to publicly update such
forward-looking statements to reflect subsequent events or circumstances, except as may be
required by law.

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